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                             EXHIBIT 3
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  From:            Rosenthal, Paul A.
  To:              Anthony Paronich; Jacob Gillick
  Cc:              Jennifer Murray; Hartrum, Krista; Jodi Nuss
  Subject:         RE: [External] [EXT] RE: Hoy - Consent for Mtn to Appear Remotely?
  Date:            July 12, 2023 2:14:00 PM


  Jacob,

  In addition to the below, Ms. Miller testified to the company having additional, relevant data
  concerning the leads ZeetoGroup/Tibrio sold to Enfuego Holdings relevant to this case that does not
  appear to have been produced in response to Health IQ’s Subpoena and the Court’s November 29,
  2022 Order. Specifically, we request production of all data from the Snowflake database and/or
  available through the Looker Analytics Tool for each relevant lead that ZeetoGroup/Tibrio sold to
  Enfuego Holdings. That should include each consumer’s page interactions, questions posed and
  responses from consumers. If not otherwise included, we also request documents sufficient to
  confirm the disclaimers that would have been presented to each of these consumers as they
  interacted with the relevant pages.

  Paul

  Paul Rosenthal
  Partner
  Fox Rothschild LLP
  (973) 548-3388 - direct
  PRosenthal@foxrothschild.com
  www.foxrothschild.com


  From: Anthony Paronich <anthony@paronichlaw.com>
  Sent: July 12, 2023 2:05 PM
  To: Jacob Gillick <jgillick@phglawgroup.com>
  Cc: Jennifer Murray <jmurray@terrellmarshall.com>; Rosenthal, Paul A.
  <PRosenthal@foxrothschild.com>; Hartrum, Krista <KHartrum@foxrothschild.com>; Jodi Nuss
  <jnuss@terrellmarshall.com>
  Subject: Re: [External] [EXT] RE: Hoy - Consent for Mtn to Appear Remotely?

  Jacob:

  Following up on the deposition testimony today, please produce the 25 revisions and the entire
  history of the revisions from the GetitFree.us website Related Advertiser Page. Ms. Miller provided
  testimony that this report could identify all changes made to this page and the date of those
  changes.

  I've attached Exhibit 3 for your reference.


  Regards,
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  ----
  Anthony Paronich
  Paronich Law, P.C.
  350 Lincoln Street, Suite 2400
  Hingham, MA 02043
  [o] (617) 485-0018
  [c] (508) 221-1510
  [f] (508) 318-8100

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  On Wed, Jun 28, 2023 at 6:26ථPM Jacob Gillick <jgillick@phglawgroup.com> wrote:

    No objection to the attached. You have my permission to file with my electronic signature.


    From: Jennifer Murray <jmurray@terrellmarshall.com>
    Date: Wednesday, June 28, 2023 at 3:14 PM
    To: Rosenthal, Paul A. <PRosenthal@foxrothschild.com>, Anthony Paronich
    <anthony@paronichlaw.com>, Jacob Gillick <jgillick@phglawgroup.com>
    Cc: Hartrum, Krista <KHartrum@foxrothschild.com>, Jodi Nuss
    <jnuss@terrellmarshall.com>
    Subject: RE: [External] [EXT] RE: Hoy - Consent for Mtn to Appear Remotely?

    All:

    The Court already granted permission for counsel for Plaintiffs and Health IQ to attend remotely
    so I believe all we need is a notice. Let me know if you think the attached will do the trick. It is set
    up as a joint notice, but happy to revise.

    Jen

    From: Rosenthal, Paul A. <PRosenthal@foxrothschild.com>
    Sent: Wednesday, June 28, 2023 8:32 AM
    To: Anthony Paronich <anthony@paronichlaw.com>; Jacob Gillick <jgillick@phglawgroup.com>
    Cc: Hartrum, Krista <KHartrum@foxrothschild.com>; Jennifer Murray
    <jmurray@terrellmarshall.com>; Jodi Nuss <jnuss@terrellmarshall.com>
    Subject: RE: [External] [EXT] RE: Hoy - Consent for Mtn to Appear Remotely?
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    Jacob,

    I am following up about your consent to the below Motion for Health IQ to Appear Remotely at
    the July 6 Hearing. Also, because I may have a conflict with a conference in the Northern District
    of California, we intend to file a motion for pro hac vice admission of my colleague Krista Hartrum.
    Thus, please let me know whether we can represent that your clients consent to that motion as
    well?

    Thanks,
    Paul

    Paul Rosenthal
    Partner
    Fox Rothschild LLP
    (973) 548-3388 - direct
    PRosenthal@foxrothschild.com
    www.foxrothschild.com


    From: Anthony Paronich <anthony@paronichlaw.com>
    Sent: June 27, 2023 9:46 AM
    To: Rosenthal, Paul A. <PRosenthal@foxrothschild.com>; Jacob Gillick
    <jgillick@phglawgroup.com>
    Cc: Hartrum, Krista <KHartrum@foxrothschild.com>; Jennifer Murray
    <jmurray@terrellmarshall.com>; Jodi Nuss <jnuss@terrellmarshall.com>
    Subject: [EXT] RE: Hoy - Consent for Mtn to Appear Remotely?

    Yes, and we are making the same request.



    ----
    Anthony Paronich
    Paronich Law, P.C.
    350 Lincoln Street, Suite 2400
    Hingham, MA 02043
    [o] (617) 485-0018
    [c] (508) 221-1510
    [f] (508) 318-8100

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                                              of 6




    From: Rosenthal, Paul A. <PRosenthal@foxrothschild.com>
    Sent: Tuesday, June 27, 2023 9:31 AM
    To: Jacob Gillick <jgillick@phglawgroup.com>; Anthony Paronich <anthony@paronichlaw.com>
    Cc: Hartrum, Krista <KHartrum@foxrothschild.com>
    Subject: Hoy - Consent for Mtn to Appear Remotely?




    Jacob and Anthony,

    Consistent with the Court’s June 20 Order, Health IQ intends to request leave to appear at the July
    6 hearing remotely. Can you please confirm whether we can represent that motion is unopposed
    by your clients?

    Thanks,
    Paul

    Paul Rosenthal
    Partner
    Fox Rothschild LLP
    (973) 548-3388 - direct
    PRosenthal@foxrothschild.com
    www.foxrothschild.com




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